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UNITED STATES DISTRICT COURT                                  EASTERN DISTRICT OF TEXAS



 PSARA ENERGY, LTD.,                               §
      Plaintiff,                                   §
                                                   §
 versus                                            §        CASE NO. 1:18-CV-00178-MAC
                                                   §
 SPACE SHIPPING, LTD., ET AL.,                     §
      Defendants.                                  §



          ORDER OVERRULING PLAINTIFF’S OBJECTIONS TO REPORT AND
          RECOMMENDATION GRANTING THE ADVANTAGE DEFENDANTS’
                  MOTION FOR REFERRAL TO ARBITRATION
          The court referred this case to the Honorable Zack Hawthorn, United States Magistrate

Judge, for pretrial management. Doc. No. 9.        Pending before the court is the Defendants’,

Advantage Arrow Shipping, LLC, Advantage Holdings, LLC, Advantage Tankers, LLC, and

Forward Holdings, LLC (collectively the Advantage Defendants), “Motion for Referral to

Arbitration.” Doc. No. 29. On November 21, 2018, Judge Hawthorn entered a report (Doc. No.

37) recommending the court direct the parties to arbitrate their dispute in London, pursuant to the

charter party and Section 206 of the Federal Arbitration Act (FAA), and retain jurisdiction only to

enter a decree on any arbitral award, pursuant to Sections 8 and 207 of the FAA.

          A party who files timely, written objections to a magistrate judge’s report and

recommendation is entitled to a de novo determination of those findings or recommendations to

which the party specifically objects. 28 U.S.C. § 636(b)(1)(C); FED. R. CIV. P. 72(b)(2)-(3).

“Parties filing objections must specifically identify those findings [to which they object].

Frivolous, conclusive or general objections need not be considered by the district court.” Nettles

v. Wainwright, 677 F.2d 404, 410 n.8 (5th Cir. 1982) (en banc), overruled on other grounds by

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Douglass v. United Servs. Auto. Ass’n, 79 F.3d 1415 (5th Cir. 1996) (en banc).

       Plaintiff Psara Energy, Ltd. (Psara) raises four objections to Judge Hawthorn’s report, but

these objections are largely a restatement of the arguments in Psara’s response to the Advantage

Defendants “Motion for Referral to Arbitration.” See Doc. No. 30. However, the court will

address Psara’s argument that it is suing the Advantage Defendants, and its predecessor Geden

Holdings, Ltd. (Geden), under the performance guarantee which, unlike the charter party, does not

contain an arbitration clause. Doc. No. 38, at 5. As Magistrate Judge Hawthorn stated at the

hearing on the pending motion, Psara waived this argument because it was not briefed in their

response (Doc. No. 30) but was raised for the first time at the hearing. See Doc. Nos. 34, 39-1 at

26. See e.g., Nichols v. Enterasys Networks, Inc., 495 F.3d 185, 190 (5th Cir. 2007) (stating that

inadequately briefed issues are considered waived); DIRECTV, Inc. v. Budden, 420 F.3d

521, 525–26 (5th Cir. 2005).

       Even if Psara did not waive this argument, it is without merit. By its own terms, the

performance guarantee “[is] just available” unless and until Psara presents a certified copy of the

final arbitration award to Geden. Performance Guarantee, Doc. No. 1-1, at 31. Psara has not

alleged nor provided any evidence in the record this has taken place. This particularly highlights

the importance of staying these proceedings pending the ongoing arbitration. Notwithstanding the

premature nature of such a suit, the parties also agreed in the performance guarantee that it is

governed by and construed in accordance with the laws of England and consented to submit

themselves to the non-exclusive jurisdiction of the English High Court. Doc. No. 1-1, at 32.

Lastly, although not entirely clear, it appears that Psara is already involved in arbitration




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proceedings against Geden,1 who “is not a signatory to the bareboat charter party; it is a signatory

to the performance guarantee.” Doc. No. 38, at 5.

        Accordingly, after considering Psara’s objections, the court finds they are without merit

and that Judge Hawthorn’s findings and conclusions are correct.

        It is, therefore, ORDERED that the report and recommendation of the magistrate judge

(Doc. No. 37) is ADOPTED, the Advantage Defendants’ “Motion for Referral to Arbitration”

(Doc. No. 29) is GRANTED, and the parties are directed to arbitrate their dispute as outlined in

the charter party.

        It is further ORDERED that this case is administratively closed, but this court retains

jurisdiction to enforce any arbitration award. See 9 U.S.C. §§ 8, 207. All other pending motions

are denied as moot.


        Signed this date
        Jan 4, 2019




        1
          “It is a theoretical question whether Plaintiff should have to arbitrate against the Advantage Defendants
each one of the contractual claims it is currently arbitrating against Space Shipping, Geden Holdings, et al., . . .”
Psara’s Response, Doc. No. 30, at 10 n. 5. (emphasis added).

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